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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA

                 -v-                                          NOTICE OF APPEARANCE

LUIGI NICHOLAS MANGIONE,                                             24 Mag. 4375

                                    Defendant.
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        TO: CLERK OF COURT

        PLEASE TAKE NOTICE that Jacob Kaplan, Esq., of Agnifilo Intrater LLP, 445 Park

Avenue, 7th Floor, New York, NY 10022, is appearing for the Defendant LUIGI MANGIONE in

the above-captioned matter.


Dated: February 5, 2025
       New York, NY
                                                              __________________________
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